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   Control    Number          GOOG-DOJ-AT—-02480384

   All    Custodians          Google

   Custodian      :           Google

   Date/Time      Created     10/5/2021    12:44   AM

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   File    Name   :           Poirot_v3_Methodo
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     Executive summary
     Executive summary

     In Poirot
     In Poirot v3,  we add
                v3, we  add aa binary
                               binary feature
                                       feature is_video_request
                                               is_video_request to   the Poirot
                                                                  to the  Poirot model.
                                                                                 model. This
                                                                                         This is
                                                                                              is a
                                                                                                 a query-level
                                                                                                   query-level ~ |e
                                                                                                                  Commented [1]:  [1]: Just
                                                                                                                                         Just to
                                                                                                                                               to confirm
                                                                                                                                                  confirm -this
                                                                                                                                                           - this means
                                                                                                                                                                   means the
                                                                                                                                                                          the
     feature identifying
     feature  identifying requests
                           requests for
                                     for video
                                         video ads.
                                               ads. This
                                                     This helps
                                                          helps us
                                                                us bid
                                                                    bid appropriately
                                                                         appropriately aggressively
                                                                                       aggressively for
                                                                                                      for video
                                                                                                          video   request itself
                                                                                                                  request itself is
                                                                                                                                 is from
                                                                                                                                      from aa video
                                                                                                                                               video context,
                                                                                                                                                      context, asas opposed
                                                                                                                                                                    opposed toto the
                                                                                                                                                                                 the
     :                                                                                                            request is
                                                                                                                  request is asking
                                                                                                                             asking for for aa video
                                                                                                                                               video ad?
                                                                                                                                                      ad?
     inventory on
     inventory   on 3PE.
                    3PE.                                                                                            :                3g
                                                                                                                              Commented [2]:
                                                                                                                              Commented [2]: It
                                                                                                                                             It means
                                                                                                                                                means the
                                                                                                                                                      the request
                                                                                                                                                          request is
                                                                                                                                                                  is asking
                                                                                                                                                                     asking for
                                                                                                                                                                            for a
                                                                                                                                                                                a
                                                                                                                               id
                                                                                                                              video  d.
                                                                                                                                    ad.
     Key experimental
     Key  experimental results:
                         results: surplus
                                  surplus increase
                                           increase on
                                                    on 3PE
                                                        3PE (+0.27%),
                                                            (+0.27%), post-budget
                                                                       post-budget revenue
                                                                                    revenue increase
                                                                                             increase for
                                                                                                       for                    mee 8
     video ads
     video  ads on
                 on 3PE
                    3PE (+7.96%),
                         (+7.96%), small
                                     small decrease
                                            decrease in
                                                      in DBM
                                                         DBM net
                                                              net revenue
                                                                  revenue (-0.06%)
                                                                           (-0.06%) driven
                                                                                    driven by
                                                                                           by shift
                                                                                              shift in
                                                                                                    in
     spending from
     spending   from AdX
                     AdX toto 3PE.
                              3PE.

     Context
     Context                                                                                                                  Commented [3]:
                                                                                                                              Commented     [3]: given
                                                                                                                                                  given the
                                                                                                                                                        the launch
                                                                                                                                                             launch candidate
                                                                                                                                                                    candidate is
                                                                                                                                                                               is
                                                                                                                              video_only, can
                                                                                                                              video_only, can you
                                                                                                                                                you have
                                                                                                                                                     have aa separate
                                                                                                                                                             separate doc
                                                                                                                                                                       doc where
                                                                                                                                                                           where you
                                                                                                                                                                                  you
                                                                                                                              only focus on the video only signal
     Poirot
     Poi     is a
         rot is a project
                  project which  uses experimental
                          which uses   experimental bid
                                                     bid reductions
                                                         reductions to
                                                                     to infer
                                                                         infer the
                                                                               the optimal
                                                                                   optimal bid
                                                                                           bid multiplier
                                                                                               multiplier on
                                                                                                          on                  only focus on the video only signal
                                                                                                                              Commented [4]: I'm editing this doc to remove
     exchanges which
     exchanges     which are
                          are not
                              not running
                                  running pure
                                           pure second-price
                                                second-price auctions.
                                                               auctions.                                                      Commented [4]: I'm editing this doc to remove
                                                                                                                              references to
                                                                                                                              references    to the
                                                                                                                                               the other
                                                                                                                                                   other model
                                                                                                                                                          model (non-launch
                                                                                                                                                                  (non-launch candidate).
                                                                                                                                                                               candidate).
                                                                                                                              I've added
                                                                                                                              I've added a a copy
                                                                                                                                              copy of
                                                                                                                                                    of the
                                                                                                                                                       the original
                                                                                                                                                           original version
                                                                                                                                                                    version of
                                                                                                                                                                            of the
                                                                                                                                                                               the doc
                                                                                                                                                                                   doc
     Currently we
     Currently   we optimize
                     optimize the
                                the Poi
                                    Poirot   bid multiplier
                                        rot bid  multiplier for  each exchange,
                                                             for each   exchange, without
                                                                                     without distinguishing
                                                                                              distinguishing video
                                                                                                               video          under "Links".
                                                                                                                              under  "Links".
     vs. display.
     vs. display. However,
                    However, bidding
                                bidding dynamics
                                         dynamics are are different
                                                           different for
                                                                      for video
                                                                          video ads;
                                                                                 ads; video
                                                                                       video is
                                                                                              is more
                                                                                                 more inventory-
                                                                                                       inventory-
     constrained and
     constrained   and bids
                         bids tend
                               tend to
                                    to be
                                       be higher.
                                            higher. ByBy doing
                                                          doing separate
                                                                  separate optimizations
                                                                             optimizations for
                                                                                             for video
                                                                                                 video and
                                                                                                        and display,
                                                                                                             display,
     we  can correct
     we can   correct for
                       for this
                           this and
                                and win
                                     win more
                                           more video    impressions.
                                                  video impressions.

     See the
     See the original
             original design
                      design doc
                             doc for Poirot
                                 for Poi     here. See
                                         rot here. See this doc for
                                                       this doc for info
                                                                    info on
                                                                         on the
                                                                            the updated
                                                                                updated model.
                                                                                        model.

     Links
     Links

     Metrics Doc
     Metrics  Doc
     Domain-level analysis
     Domain-level   analysis
     Post-budget revenue
     Post-budget   revenue calculations
                             calculations
     Old version
     Old version of
                  of this
                     this doc
                          doc (with
                               (with both
                                     both proposed
                                          proposed models)
                                                   models)


     Modeling Solution
     Modeling Solution




     However, we
     However,  we fit
                   fit the
                       the model
                           model and
                                   and solve
                                        solve the  associated optimization
                                               the associated   optimization problem
                                                                             problem for
                                                                                       for each
                                                                                           each 3-tuple
                                                                                                  3-tuple
     (exchange, auction
     (exchange,  auction type,
                           type, is_video),
                                 is_video), rather
                                             rather than
                                                     than for
                                                          for the
                                                              the pair
                                                                  pair (exchange,
                                                                       (exchange, auction
                                                                                   auction type).
                                                                                             type).

     The optimization
     The optimization problem
                      problem is
                              is done
                                 done here.
                                      here.

     Updates to
     Updates to Serving
                Serving




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     Case study:
     Case study: Rubicon
                 Rubicon

     Here are
     Here are the
              the

                               Exchange: B
                               Exchange: 8 Auction
                                           Auction type:
                                                   type: o
                                                         0




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                                                              bid nwltiplier
                                                              bid multiplier


     In version
     In         B of
        version B of the
                     the new
                         new model,
                              model, we
                                     we fit  separate curves
                                         fit separate  curves for
                                                               for video and non-video,
                                                                   video and  non-video, resulting
                                                                                          resulting in
                                                                                                    in more
                                                                                                       more
     aggressive bidding
     aggressive  bidding for
                         for video and less
                             video and less aggressive
                                              aggressive bidding
                                                          bidding for  non-video. This
                                                                   for non-video.  This is
                                                                                        is shown
                                                                                           shown below.
                                                                                                   below.




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                    Exchange: B
                    Exchange: 8 Auction type: o
                                Auction type: 0 Is
                                                Is video:
                                                   video: FALSE
                                                          FALSE




            aa




                                                                                                bid  buck etic
                                                                                                 bidbL>:ket.id
                                                                                                     Q
      =3
                                                                                                     1
       3
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       E
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       a
       2 \]·                                                                                         :
                                                                                                     4
             -




                                    an,                   why
                                                          -..:.··                 ea        =
                                                           bid nwltiplier
                                                           bid multiplier


                    Exchange:
                    Exchange: B
                              & Auction type: o
                                Auction type: OlsIs video: TRUE
                                                    video: TRUE




            4s
            ··.~.




            u3-                                                                                 bid. bucket.id
                                                                                                 bid.bL>:ket.id

      a                                                                                                  5
       co
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       z
       wi
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       E                                                                                                 5
       22
                                                                                                         4




                                                           -..:.··
                                                            bid noultiplier
                                                            bid multiplier




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